   Case 22-13330-JNP                          Doc 9 Filed 04/28/22 Entered 04/29/22 00:13:14                                                       Desc Imaged
                                                   Certificate of Notice Page 1 of 4
Information to identify the case:

                       Ruth I Baez                                                              Social Security number or ITIN:      xxx−xx−1683
Debtor 1:
                                                                                                EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                  EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     District of New Jersey                                          Date case filed for chapter:            13      4/25/22

Case number:          22−13330−JNP

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                            10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's
correct address, resend the returned notice, and notify this office of the party's change of address. Failure to provide
all parties with a copy of this notice may adversely affect the debtor as provided by the Bankruptcy Code.

                                                   About Debtor 1:                                                         About Debtor 2:
1. Debtor's full name                              Ruth I Baez

2. All other names used in the
   last 8 years
                                                   aka Ruth Ivette Baez, aka Ruth Baez, aka Ivette Baez, aka
                                                   R. Ivette Beaz

                                                   56 W. Center Ave.
3. Address                                         Maple Shade, NJ 08052
                                                   Thomas G. Egner                                                         Contact phone 856−482−5544
4. Debtor's  attorney
   Name and address
                                                   McDowell Law, PC
                                                   46 West Main Street                                                     Email: tegner@mcdowelllegal.com
                                                   Maple Shade, NJ 08052

5. Bankruptcy trustee                              Isabel C. Balboa                                                        Contact phone (856) 663−5002
     Name and address                              Chapter 13 Standing Trustee                                             www.standingtrustee.com
                                                   Cherry Tree Corporate Center
                                                   535 Route 38 − Suite 580
                                                   Cherry Hill, NJ 08002

6. Bankruptcy clerk's office                                                                                               Hours open: 8:30 AM − 4:00 p.m., Monday −
     Documents in this case may be filed           401 Market Street                                                       Friday (except holidays)
     at this address.                              Camden, NJ 08102                                                        Contact phone 856−361−2300
     You may inspect all records filed in          Additional information may be available at the Court's Web              Date: 4/26/22
     this case at this office or online at         Site:
      https://pacer.uscourts.gov.                  www.njb.uscourts.gov.
     (800) 676−6856


                                                                                                                                   For more information, see page 2

Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                     page 1
  Case 22-13330-JNP                               Doc 9 Filed 04/28/22 Entered 04/29/22 00:13:14                                                Desc Imaged
                                                       Certificate of Notice Page 2 of 4
Debtor Ruth I Baez                                                                                                                        Case number 22−13330−JNP

7. Meeting of creditors
    Debtors must attend the meeting               May 26, 2022 at 10:00 AM                                          Location:
    to be questioned under oath. In a                                                                               THE LOCATION, DATE AND TIME OF THE
    joint case, both spouses must                                                                                   MEETING OF CREDITORS IS SUBJECT TO
    attend.                                       The meeting may be continued or adjourned to a later              CHANGE. DEBTORS, PLEASE CONSULT WITH
    Creditors may attend, but are not             date. If so, the date will be on the court docket.                YOUR COUNSEL. SELF REPRESENTED
    required to do so.                                                                                              DEBTORS AND ALL PARTIES IN INTEREST,
    All individual debtors must provide picture                                                                     PLEASE REFER TO THE TRUSTEE WEBSITE
    identification and proof of social security                                                                     AT www.standingtrustee.com
    number to the trustee at the meeting of
    creditors. Failure to do so may result in
    your case being dismissed.

8. Deadlines                                      Deadline to file a complaint to challenge                                Filing deadline: 7/25/22
   The bankruptcy clerk's office must             dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                                     You must file:
                                                  • a motion if you assert that the debtors are
                                                     not entitled to receive a discharge under
                                                     U.S.C. § 1328(f) or
                                                  • a complaint if you want to have a particular
                                                     debt excepted from discharge under
                                                     11 U.S.C. § 523(a)(2) or (4).


                                                  Deadline for all creditors to file a proof of claim                      Filing deadline: 7/5/22
                                                  (except governmental units):
                                                                                                                           Filing deadline: 180 days from date of
                                                  Deadline for governmental units to file a proof of                       order for relief.
                                                  claim:                                                                   11 U.S.C. § 502(b)(9)
                                                  Deadlines for filing proof of claim:
                                                   A proof of claim is a signed statement describing a creditor's claim. A proof of claim form ("Official Form 410")
                                                  may be obtained at www.uscourts.gov or any bankruptcy clerk's office. You may also contact the Clerk's Office
                                                  where this case is pending to request that a Proof of Claim form be mailed to you. The Clerk's Office telephone
                                                  number is included on the front of this Notice. Also, Claims can be filed electronically through the court's
                                                  website at: http://www.njb.uscourts.gov under File An Electronic Claim.
                                                  If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                  a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                  claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                  For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                  including the right to a jury trial.


                                                  Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                                  The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                                  believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                                  may file an objection.

9. Filing of plan                                 The debtor has filed a plan. The plan and notice of confirmation hearing will be sent separately.

10. Creditors with a foreign                      If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                       extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                  any questions about your rights in this case.
11. Filing a chapter 13                           Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                               according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                  plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                                  the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                                  debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                                  court orders otherwise.
12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you
                                                  believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                                  deadline.
13. Discharge of debts                            Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                  However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                  are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                                  as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                  523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                  If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                                  must file a motion by the deadline.

                                                  WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                                  ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
                                                  CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.




Official Form 309I                                           Notice of Chapter 13 Bankruptcy Case                                                     page 2
       Case 22-13330-JNP                     Doc 9 Filed 04/28/22 Entered 04/29/22 00:13:14                                             Desc Imaged
                                                  Certificate of Notice Page 3 of 4
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-13330-JNP
Ruth I Baez                                                                                                            Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 26, 2022                                               Form ID: 309I                                                             Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 28, 2022:
Recip ID                   Recipient Name and Address
db                     +   Ruth I Baez, 56 W. Center Ave., Maple Shade, NJ 08052-2835
519564319              +   Charles I. Nathanson, Esq, 1916 Route 70 East, Suite 6, Cherry Hill, NJ 08003-2139
519564320              +   Chimef/str, Attn: Bankruptcy, Po Box 417, San Francisco, CA 94104-0417
519564324              +   Equifax Information Services, PO Box 740241, Atlanta, GA 30374-0241
519564325              +   Experian, PO Box 4500, Allen, TX 75013-1311
519564326              +   Garden State Fcu, 144 NJ Route 38, Moorestown, NJ 08057-3223
519564330              +   New Jersey Dept. of Labor, and Workforce Development, PO Box 379, Trenton, NJ 08625-0379
519564331              +   New Jersey Dept. of Labor, and Workforce Development, PO Box 119, Trenton, NJ 08625-0119
519564332              +   New Jersey Motor Vehicle Commission, Surcharge Violation System Office, PO Box 136, Trenton, NJ 08666-0136
519564337              +   Stephen Einstein & Associates, P.C., Attn: Anthony S. Poulin, Esq., 39 Broadway, Suite 1250, New York, NY 10006-3089
519564338              +   TransUnion, PO Box 2000, Chester, PA 19016-2000
519564339              +   Triple J's LLC, 60 Westbrook Drive, Moorestown, NJ 08057-2219

TOTAL: 12

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: tegner@mcdowelllegal.com
                                                                                        Apr 26 2022 20:33:00      Thomas G. Egner, McDowell Law, PC, 46 West
                                                                                                                  Main Street, Maple Shade, NJ 08052
tr                     + Email/Text: pmarraffa@standingtrustee.com
                                                                                        Apr 26 2022 20:33:00      Isabel C. Balboa, Chapter 13 Standing Trustee,
                                                                                                                  Cherry Tree Corporate Center, 535 Route 38 -
                                                                                                                  Suite 580, Cherry Hill, NJ 08002-2977
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Apr 26 2022 20:34:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Apr 26 2022 20:34:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
519564317              + EDI: CAPITALONE.COM
                                                                                        Apr 27 2022 00:38:00      Capital One, Attn: Bankruptcy, P.O. Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
519564318              + Email/Text: jessicaoehrlein@cpcrecovery.com
                                                                                        Apr 26 2022 20:34:00      Central Portfolio Control, Attn: Bankruptcy, 10249
                                                                                                                  Yellow Circle Dr, Ste 200, Minnetonka, MN
                                                                                                                  55343-9111
519564321              + Email/Text: ebnnotifications@creditacceptance.com
                                                                                        Apr 26 2022 20:33:00      Credit Acceptance, Attn: Bankruptcy, 25505 West
                                                                                                                  12 Mile Road Ste 3000, Southfield, MI
                                                                                                                  48034-8331
519564322              + EDI: CRFRSTNA.COM
                                                                                        Apr 27 2022 00:38:00      Credit First National Association, Attn:
                                                                                                                  Bankruptcy, Po Box 81315, Cleveland, OH
                                                                                                                  44181-0315
519564323              + EDI: CRESCENTBANK.COM
                                                                                        Apr 27 2022 00:38:00      Crescent Bank & Trust, Inc., Attn: Bankruptcy, Po
                                                                                                                  Box 61813, New Orleans, LA 70161-1813
519564327              + EDI: IRS.COM
                                                                                        Apr 27 2022 00:38:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operation, PO Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
       Case 22-13330-JNP                   Doc 9 Filed 04/28/22 Entered 04/29/22 00:13:14                                       Desc Imaged
                                                Certificate of Notice Page 4 of 4
District/off: 0312-1                                              User: admin                                                             Page 2 of 2
Date Rcvd: Apr 26, 2022                                           Form ID: 309I                                                         Total Noticed: 28
519564328                Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Apr 26 2022 20:45:05     LVNV Funding LLC, Resurgent Capital Systems,
                                                                                                            PO Box 10587, Greenville, SC 29603-0587
519564329                Email/Text: ml-ebn@missionlane.com
                                                                                   Apr 26 2022 20:33:00     Mission Lane LLC, Attn: Bankruptcy, P.O. Box
                                                                                                            105286, Atlanta, GA 30348
519564333                Email/Text: signed.order@pfwattorneys.com
                                                                                   Apr 26 2022 20:33:00     Pressler, Felt & Warshaw LLP, Attn: Theologia
                                                                                                            Papadelias, Esq., 7 Entin Road, Parsippany, NJ
                                                                                                            07054-5020
519564334             + Email/Text: clientservices@remexinc.com
                                                                                   Apr 26 2022 20:34:00     Remex Inc, Attn: Bankruptcy, Po Box 765, Rocky
                                                                                                            Hill, NJ 08553-0765
519564335             + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Apr 26 2022 20:45:18     Resurgent Capital Services, Attn: Bankruptcy, Po
                                                                                                            Box 10497, Greenville, SC 29603-0497
519564336                Email/Text: NJTax.BNCnoticeonly@treas.nj.gov
                                                                                   Apr 26 2022 20:33:00     State of New Jersey Division of Taxation,
                                                                                                            Bankruptcy Section, PO Box 245, Trenton, NJ
                                                                                                            08695

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 28, 2022                                        Signature:           /s/Gustava Winters
